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 7                            IN THE UNITED STATES DISTRICT COURT

 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,

10                  Respondent,                           No. CR S-02-0079 FCD CHS P

11           vs.

12   WESLEY F. SINE,

13                  Movant.                       ORDER

14                                          /

15                  Movant, a federal prisoner proceeding pro se, filed a motion to vacate, set aside,

16   or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

17   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

18                  On June 10, 2009, the magistrate judge filed findings and recommendations

19   herein which were served on all parties and which contained notice to all parties that any

20   objections to the findings and recommendations were to be filed within twenty days. Movant

21   has filed objections to the findings and recommendations.

22                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 72-

23   304, this court has conducted a de novo review of this case. Having carefully reviewed the

24   entire file, the court finds the findings and recommendations to be supported by the record and

25   by proper analysis.

26   /////

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 1                Accordingly, IT IS HEREBY ORDERED that:

 2                1. The findings and recommendations filed June 10, 2009 are adopted in full; and

 3                2. Movant’s June 5, 2006 motion to vacate, set aside, or correct his sentence

 4   pursuant to 28 U.S.C. §2255 is DENIED.

 5   DATED: July 23, 2009.

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 7                                         _______________________________________
                                           FRANK C. DAMRELL, JR.
 8                                         UNITED STATES DISTRICT JUDGE

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